             Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 1 of 54




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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                        Page 1
            Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 2 of 54




                                 UNITED STATES DISTRICT COURT
 1
                   NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
 2
 3
       JAMAL RASHID TRULOVE,                         Case No. 16-cv-00050-YGR
 4
              Plaintiff,
 5
                      vs.
 6
       THE CITY AND COUNTY OF SAN                    SECOND AMENDED COMPLAINT
 7
       FRANCISCO, ETC., MAUREEN D’AMICO,             AND
 8
       MICHAEL JOHNSON, ROBERT MCMILLAN,             DEMAND FOR JURY TRIAL
 9
       MICHAEL ANDROVICH, FRANCIS HAGEN,
10
       CARLA LEE, JAMES TRAIL, JOHN EVANS,
11
       RONAN SHOULDICE, and JOHN DOE
12
       OFFICERS 1-10, in their individual
13
       capacities,
14
              Defendants
15
16
            Plaintiff JAMAL RASHID TRULOVE, by and through his attorneys, the law firms of
17
     Neufeld, Scheck & Brustin, LLP, and the Law Office of Chatfield and Reisman, hereby alleges
18
     as follows:
19
                                            INTRODUCTION
20
          1. Plaintiff Jamal Rashid Trulove was sentenced to 50 years to life in prison and spent
21
              over six years imprisoned for a crime that he did not commit—the July 2007
22
              murder of Seu Kuka.
23
          2. Mr. Trulove’s wrongful conviction was the result of serious misconduct by the San
24
              Francisco Police Department (SFPD) officers investigating the Kuka shooting.
25
              SFPD Defendants manipulated an eyewitness, Priscilla Lualemaga, into
26
              misidentifying Mr. Trulove as the shooter. Defendants then hid the blatantly
27
              improper means they had used to obtain the misidentification, which was only
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 2
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 3 of 54




 1          uncovered through a remarkable coincidence after Mr. Trulove’s wrongful
 2          conviction.
 3       3. No physical or forensic evidence ever inculpated Mr. Trulove. Because Mr. Trulove
 4          always said—truthfully—that he was innocent, no statements implicated him,
 5          either. The sole evidence incriminating him was the misidentification unlawfully
 6          procured by the SFPD Defendants.
 7       4. Even before Defendants’ most blatant misconduct was revealed, it was clear Ms.
 8          Lualemaga was, at best, a questionable witness. Although Ms. Lualemaga testified
 9          at the time of trial that she was certain in her identification of Mr. Trulove, she had
10          initially failed to identify him, and had been paid over $60,000 in living expenses
11          in exchange for her testimony. What the jury that convicted Mr. Trulove did not
12          know, however—because Defendants hid it—was that Defendants had directly
13          suggested to Ms. Lualemaga that she should identify Mr. Trulove.
14       5. Mr. Trulove’s conviction was reversed on direct appeal by the California Court of
15          Appeals. After retrial, Mr. Trulove was acquitted in March, 2015. He had by then
16          spent over six years incarcerated for a crime he did not commit.
17       6. At the time of his wrongful arrest, Mr. Trulove was a young father. He was also an
18          aspiring actor and hip hop performer who had recently appeared on the national
19          television program I Love New York 2. As a result of his wrongful conviction and
20          six years of wrongful imprisonment, he was torn away from his family and his
21          budding acting and musical career.
22
23                                        JURISDICTION
24       7. This Court has federal question jurisdiction, pursuant to 28 U.S.C. § 1331, over the
25          claims arising out of violations of the United States Constitution.
26       8. Jurisdiction is conferred by 28 U.S.C. § 1343, which provides for original
27          jurisdiction of this Court in suits authorized under 42 U.S.C. § 1983 to redress the
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                     Page 3
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 4 of 54




 1          deprivation (under color of state law, statute, ordinance, regulation, custom, or
 2          usage) of any right, privilege, or immunity secured by the Constitution of the
 3          United States or by any act of Congress providing for equal rights of citizens of all
 4          persons within the jurisdiction of the United States.
 5       9. This Court has supplemental jurisdiction over Plaintiff’s pendent state law claims
 6          pursuant to 28 U.S.C. § 1367 (a).
 7
 8                                                 VENUE
 9       10. Pursuant to 28 U.S.C. § 1391(b), venue is proper in the Northern District of
10          California, the judicial district in which the claims arose and in which the
11          Defendants conducted business.
12
13                                                PARTIES
14       11. Plaintiff JAMAL RASHID TRULOVE is, and at all times relevant herein was, an
15          individual residing in the State of California.
16       12. Defendant CITY AND COUNTY OF SAN FRANCISCO is, and at all times relevant
17          herein was, a public entity existing in the state of California. At all times relevant to
18          this action, the San Francisco Police Department is and was a part of the City and
19          County of San Francisco.
20       13. Upon information and belief, Defendant Inspector Maureen D’Amico is a resident
21          of the State of California and of this judicial district. At all relevant times herein,
22          D’Amico was a duly appointed and acting supervisor in the SFPD acting under
23          color of law and in her individual capacity within the scope of employment
24          pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
25          the City and County of San Francisco and the State of California.
26       14. Upon information and belief, Defendant Inspector Michael Johnson is a resident of
27          the State of California and of this judicial district. At all relevant times herein,
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                        Page 4
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 5 of 54




 1          Johnson was a duly appointed and acting supervisor in the SFPD acting under
 2          color of law and in his individual capacity within the scope of employment
 3          pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
 4          the City and County of San Francisco and the State of California.
 5       15. Upon information and belief, Defendant Inspector Robert McMillan is a resident of
 6          the State of California and of this judicial district. At all relevant times herein,
 7          McMillan was a SFPD Inspector acting under color of law and in his individual
 8          capacity within the scope of employment pursuant to the statutes, ordinances,
 9          regulations, policies, customs, and usage of the City and County of San Francisco
10          and the State of California.
11       16. Upon information and belief, Defendant Officer Michael Androvich is a resident of
12          the State of California and of this judicial district. At all relevant times herein,
13          Androvich was a SFPD Officer acting under color of law and in his individual
14          capacity within the scope of employment pursuant to the statutes, ordinances,
15          regulations, policies, customs, and usage of the City and County of San Francisco
16          and the State of California.
17       17. Upon information and belief, Defendant Officer Francis Hagen is a resident of the
18          State of California and of this judicial district. At all relevant times herein, Hagen
19          was a SFPD Officer acting under color of law and in his individual capacity within
20          the scope of employment pursuant to the statutes, ordinances, regulations,
21          policies, customs, and usage of the City and County of San Francisco and the State
22          of California.
23       18. Upon information and belief, Defendant Officer Carla Lee is a resident of the State
24          of California and of this judicial district. At all relevant times herein, Lee was a
25          SFPD Officer acting under color of law and in her individual capacity within the
26          scope of employment pursuant to the statutes, ordinances, regulations, policies,
27
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                        Page 5
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 6 of 54




 1          customs, and usage of the City and County of San Francisco and the State of
 2          California.
 3       19. Upon information and belief, Defendant Officer James Trail is a resident of the
 4          State of California and of this judicial district. At all relevant times herein, Trail
 5          was a SFPD Officer acting under color of law and in his individual capacity within
 6          the scope of employment pursuant to the statutes, ordinances, regulations,
 7          policies, customs, and usage of the City and County of San Francisco and the State
 8          of California.
 9       20. Upon information and belief, Defendant John Evans is a resident of the state of
10          Oregon. At all relevant times herein, Evans was a SFPD Officer or Inspector acting
11          under color of law and in his individual capacity within the scope of employment
12          pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
13          the City and County of San Francisco and the State of California.
14       21. Upon information and belief, Defendant Ronan Shouldice is a resident of the state
15          of California and of this Judicial District. At all relevant times herein, Shouldice was
16          a SFPD Officer or Inspector acting under color of law and in his individual capacity
17          within the scope of employment pursuant to the statutes, ordinances, regulations,
18          policies, customs, and usage of the City and County of San Francisco and the State
19          of California.
20       22. Defendant Officer John Doe #1, whose actual name Plaintiff has been unable to
21          ascertain notwithstanding reasonable efforts to do so, but who is sued herein by
22          the fictitious designation “John Doe #1” is a older white, male officer in
23          plainclothes, who was working at Ingleside Station on the night of July 23-24,
24          2007 and participated in the misconduct described herein. John Doe #1 was at all
25          times relevant to this Complaint a SFPD officer acting under color of law and in his
26          individual capacity within the scope of employment pursuant to the statutes,
27
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                        Page 6
            Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 7 of 54




 1            ordinances, regulations, policies, customs, and usage of the City and County of San
 2            Francisco and the State of California. He is sued in his individual capacity.
 3        23. Defendant John Does 2–10, whose actual names Plaintiff has been unable to
 4            ascertain notwithstanding reasonable efforts to do so, but who are sued herein by
 5            the fictitious designations “John Doe”, represent those officers, detectives,
 6            supervisors, and/or other agents and employees of the SFPD, acting under color of
 7            law and in their individual capacities within the scope of employment or agency
 8            pursuant to the statutes, ordinances, regulations, policies, customs, and usage of
 9            the City and County of San Francisco and the State of California, who participated
10            in the misconduct described herein. They are sued in their individual capacities.
11
12                                     FACTUAL ALLEGATIONS
13   Seu Kuka’s Homicide
14        24. Shortly before 11:00 p.m. on July 23, 2007, 28-year-old Seu Kuka was fatally shot
15            on a sidewalk in front of 140 Blythedale Avenue, in the Sunnydale Housing
16            Projects in San Francisco, California.
17        25. Plaintiff Jamal Trulove is innocent of this crime—he had nothing to do with the
18            murder of his friend, Seu Kuka.
19
20   Priscilla Lualemaga at Ingleside Station, July 23-24, 2007
21        26. Although there were as many as 25 people on the street at the time of the
22            shooting, most fled at the time of the gunshots. However, Priscilla Lualemaga, who
23            was standing in a second floor window at 140 Blythedale, uphill and to the west of
24            where Mr. Kuka was shot, came out from her apartment and told SFPD officers at
25            the scene, including Officer Carla Lee and Officer Shawn Phillips, that she saw the
26            shooting.
27
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                       Page 7
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 8 of 54




 1       27. Immediately after the murder, Ms. Lualemaga was brought to the Ingleside Police
 2          Station by Officers Lee and Phillips and waited in a room. She was told by Officer
 3          Lee to examine a bulletin board with 34 photographs on it, which she did.
 4       28. Ms. Lualemaga was looking at the bulletin board for over two hours while waiting
 5          to be interviewed by Inspectors Michael Johnson and Maureen D’Amico.
 6          Inspectors Johnson and D’Amico of the SFPD Homicide Detail were the lead
 7          investigators of the Seu Kuka homicide.
 8       29. The bulletin board at Ingleside Police Station had booking photographs of Jamal
 9          Trulove, his younger brother, Joshua Bradley, and another brother, David Trulove.
10          Mr. Trulove and his brothers were African-American young men who were raised
11          in the Sunnydale Housing Projects. By virtue of this fact, according to the SFPD,
12          including Gang Task Force Unit Officers Daniel Silver and Kevin Knoble and
13          Inspector Robert McMillan, they were therefore suspected of being gang members.
14          A “gang validation file” was started on Mr. Trulove when he was 12 years old. In
15          this first entry, Mr. Trulove was detained along with his younger brothers, then 7
16          and 8 years old, after these boys were in an argument on a basketball court. Officer
17          Silver wrote that because Mr. Trulove was with his younger brothers and his
18          friends, this met the SFPD’s “criteria” for gang membership as Mr. Trulove was
19          “associating with future gang members.”
20       30. The booking photograph of Jamal Trulove on the bulletin board at Ingleside Police
21          Station was taken when he was arrested for his sole criminal conviction, a 2003
22          arrest for a violation of California Penal Code § 496, subd. (a), receipt of stolen
23          property. Although Mr. Trulove successfully completed the sentence of probation,
24          he received for this offense, Mr. Trulove’s photograph nevertheless remained on
25          the Ingleside Police Station bulletin board in July 2007.
26       31. Joshua Bradley’s photograph on the Ingleside Police Station bulletin board was
27          below the photograph of Mr. Trulove. Mr. Bradley had non-violent, juvenile
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                     Page 8
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 9 of 54




 1          matters, the last of which was a juvenile probation violation in March of 2005.
 2          Regardless, his photograph remained on the Ingleside Police Station bulletin
 3          board in July 2007.
 4       32. David Trulove’s photograph on the Ingleside Police Station bulletin board was to
 5          the left of the photograph of Jamal Trulove. David Trulove had an adult conviction
 6          in 2000 of theft and a 2001 burglary conviction. Six years after this second
 7          conviction, and despite the fact that he was not on probation and had not
 8          committed any subsequent offense, his picture remained on the Ingleside Police
 9          Station bulletin board in July 2007.
10       33. During the two hours that Ms. Lualemaga examined the bulletin board in the room
11          at Ingleside Police Station, she reported to police that she recognized several men
12          whose photographs were on the bulletin board. She later testified that she knew
13          David Trulove “from a long time ago.”
14       34. However, she never recognized, nor identified, Jamal Trulove at any time during
15          these two hours as someone who was involved in any way in Seu Kuka’s homicide.
16       35. At approximately 1:00am that night (the early morning hours of July 24, 2007),
17          Inspectors Johnson and D’Amico came to meet with Ms. Lualemaga. Ms. Lualemaga
18          was taken to an upstairs room in the station and interviewed by Inspectors
19          Johnson and D’Amico.
20       36. A portion of the interview was tape recorded. Upon information and belief,
21          Inspectors Johnson and D’Amico did not tape record their entire interview with
22          Ms. Lualemaga.
23       37. During the recorded portion of the interview, Ms. Lualemaga alternatively told
24          Inspectors Johnson and D’Amico that she had been staying at her grandmother’s
25          apartment for one week and that she had been living there for one year.
26       38. Ms. Lualemaga then reported what she had seen, and was not able to see, from her
27          second story window at 140 Blythedale Avenue. She reported that when she heard
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                    Page 9
            Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 10 of 54




 1            yelling, she looked out of her bedroom window. She saw Seu Kuka chasing a
 2            young African-American male downhill, from west to east. While chasing this man
 3            downhill, Mr. Kuka “smashed” into another African-American man who was in Mr.
 4            Kuka’s way. Because Mr. Kuka hit him so hard, the second man fell to the ground
 5            hard. Mr. Kuka continued running downhill, chasing the first man.
 6        39. Ms. Lualemaga stated that the man who had been knocked down was “wearing a
 7            black hooded sweater.” Ms. Lualemaga reported that this second man got up,
 8            chased after Mr. Kuka, and shot Mr. Kuka at close range.
 9        40. Ms. Lualemaga stated that this man was standing directly behind, to the west of,
10            and uphill from Mr. Kuka.
11        41. Ms. Lualemaga later testified that she never actually saw a gun in this second
12            man’s hands.
13        42. Ms. Lualemaga then stated that a photograph of the man that Mr. Kuka was
14            chasing—not the shooter—was on the bulletin board that she viewed. She also
15            wrote this in a statement that night.
16        43. Ms. Lualemaga then stated that she did not know the man who Mr. Kuka was
17            chasing. She told officers, “I don't know him at all. I don't even know his name.”
18        44. However, she said that she had read his name on the photograph. She said this
19            person was Joshua Bradley, whose photograph was immediately below Jamal
20            Trulove’s on the bulletin board.
21        45. As to the shooter, Ms. Lualemaga stated to Inspectors Johnson and D’Amico that
22            she “didn’t really get a good look at the shooter” as the fight and shooting
23            happened “so fast.”
24        46. In response to a direct question from Inspector D’Amico: “Do these guys have any
25           distinguishing, like a tattoo on their face 1 that you can see or a piercing, or
26
27   1Jamal Trulove has, and had in July 2007, a large tattoo on his neck that reads “Cheryl
28   Trulove.”

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                         Page 10
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 11 of 54




 1           anything that would make them distinctive to us?” Ms. Lualemaga answered, “I
 2           can’t really tell. I can’t remember.”
 3        47. Inspector D’Amico then asked Ms. Lualemaga, “If, if we were able to identify the
 4           shooter and put his picture in a line-up for you do you think you’d be able to pick
 5           him out?” Ms. Lualemaga responded, “I think so.”
 6        48. Inspector Johnson next told Ms. Lualemaga that they could arrange to move her
 7           out of the neighborhood if she were a witness.
 8        49. After the interview, Ms. Lualemaga then returned with Inspectors D’Amico and
 9           Johnson to the bulletin board and pointed out Joshua Bradley’s photograph,
10           directly below Jamal Trulove’s photograph.
11        50. At this time, Ms. Lualemaga never identified Jamal Trulove’s picture as that of
12           someone involved in Mr. Kuka’s shooting, as someone who was present that night,
13           nor indicated in any way that she recognized him as associated with Joshua
14           Bradley.
15
16   The Seu Kuka homicide investigation at Ingleside Police Station
17           51. Pursuant to SFPD policies, practices and customs, Inspectors Johnson and
18               D’Amico directed all aspects of the Seu Kuka homicide investigation or were
19               informed of the results.
20           52. Upon information and belief, Inspectors Johnson and D’Amico directed other
21               SFPD officers to assist them in investigating, including Carla Lee, Shawn
22               Phillips, Michael Androvich, James Trail, and officers in the Gang Task Force
23               Unit, including Kevin Knoble, Daniel Silver, and Robert McMillan. Upon
24               information and belief, these officers assisted in the investigation by
25               interviewing witnesses, directing witnesses to Johnson and D’Amico, sharing
26               notes and reports, regularly meeting, discussing case strategy and progress,
27               sharing information, and dividing tasks throughout the investigation. Upon
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                    Page 11
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 12 of 54




 1             information and belief, Officer Knoble was also directed by Johnson and
 2             D’Amico to take photos of vehicles at the crime scene.
 3          53. Upon information and belief, all officers assisting and involved in the
 4             investigation were aware of the misconduct of other officers in the
 5             investigation.
 6          54. Upon information and belief, officers, including Silver, Knoble, Androvich, and
 7             McMillan, suggested that Inspectors D’Amico and Johnson focus their
 8             investigation on Jamal Trulove as a suspect.
 9          55. On the night of July 23-24, 2007, Sergeant Robert Daniele was the supervisor of
10             Officers Lee and Phillips. Pursuant to policies, practices, and customs of the
11             SFPD, in addition to responding to scene of the Kuka homicide and directing
12             the investigation of the responding officers, Sgt. Daniele also monitored,
13             directed, and evaluated subordinate personnel, including Officers Lee and
14             Phillips; reviewed documents for completeness, consistency, and accuracy,
15             including the Seu Kuka incident report; approved arrest and search warrants;
16             and requested periodic updates from subordinate personnel. Upon
17             information and belief, Sgt. Daniele was aware of Officer Lee and Phillips’s
18             conduct with respect to Kuka homicide investigation, and condoned their
19             behavior.
20          56. On the night of July 23-24, 2007, Lieutenant Michael Slade was the Officer in
21             Charge of the Ingleside Police Station. Pursuant to SFPD policies, practices and
22             customs, as Officer in Charge, Lt. Slade monitored activities happening at
23             Ingleside Station; directed and managed subordinate personnel; responded to
24             incidents that required the presence of a lieutenant; reviewed incident reports
25             for completeness, consistency, and accuracy; was briefed by subordinate
26             personnel on activities occurring in the station; and performed routine
27             administrative duties to ensure the station operations ran smoothly.
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 12
            Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 13 of 54




 1   Officer Lee and John Doe #1 directly suggest that Ms. Lualemaga identify Jamal Trulove as
 2   the shooter, but are initially unsuccessful
 3            57. Upon information and belief, there were numerous conversations between Ms.
 4               Lualemaga and officers at Ingleside Station on July 23-24, 2007 which were
 5               never documented or recorded.
 6            58. One conversation happened to be witnessed by a 17-year-old boy, Oliver
 7               Barcenas. This conversation, between Ms. Lualemaga, Officer Lee, and an
 8               officer in plain-clothes, John Doe #1—was not documented or memorialized
 9               by San Francisco police officers or, if it was, was concealed.
10            59. John Doe #1 was holding a clipboard and pointing to what seemed to be a
11               photograph. As he pointed to the clipboard, this officer asked Ms. Lualemaga,
12               “Are you sure it wasn’t Jamal Trulove?”
13            60. Despite this direct pressure from Officer Lee and John Doe #1 to identify Jamal
14               Trulove as the shooter, at that time Ms. Lualemaga responded “No, I don’t
15               know.”
16            61. John Doe #1 was visibly frustrated by Ms. Lualemaga’s refusal to identify Mr.
17               Trulove at that time.
18            62. It would not be until three years later, after Jamal Trulove’s conviction, that
19               this conversation would be revealed.
20            63. Upon information and belief, SFPD officers, including Officers Lee and John Doe
21               #1 and others, improperly suggested, pressured, and/or coerced Ms.
22               Lualemaga to identify Mr. Trulove as the shooter. These conversations did not
23               happen to be witnessed by neutral observers who would later have an
24               opportunity to report it.
25            64. Upon information and belief, these conversations were made at the direction of
26               Inspectors D’Amico and Johnson and/or they were made aware that
27               conversations occurred.
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                     Page 13
            Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 14 of 54




 1           65. Upon information and belief, as Officer Lee’s supervisor, Sgt. Daniele was made
 2               aware of this and other conversations and condoned Officer Lee’s misconduct.
 3           66. Upon information and belief, as Officer in Charge, Lt. Slade was aware of this
 4               open and notorious misconduct by SFPD officers, which occurred in the middle
 5               of the police station while he was “in charge,” and condoned this misconduct.
 6           67. Sometime in the early morning hours of July 24, 2007, Inspectors D’Amico and
 7               Johnson drove Ms. Lualemaga to her home.
 8
 9   Officers visit Priscilla Lualemaga’s home on the evening of July 24, 2007
10           68. On July 24, 2007, Inspector Johnson memorialized portions of information he
11               obtained from Officers Knoble, Androvich and Inspector McMcillan regarding
12               the investigation.
13           69. Inspector Johnson, Inspector McMillan, Officer Androvich, and Officer Trail
14               went to Ms. Lualemaga’s apartment building, 140 Blythedale Avenue, on July
15               24, 2007 at approximately 5:00 p.m. Upon information and belief, Inspector
16               D’Amico knew or was made aware of this meeting.
17           70. Upon information and belief, the officers continued to exert direct pressure on
18               Ms. Lualemaga to identify Mr. Trulove as the shooter at this meeting.
19           71. Any conversation had with Ms. Lualemaga was not disclosed.
20
21   The Computer Generated Line-Ups Created by Inspectors on July 25, 2007
22           72. On July 25, 2007, Inspectors D’Amico and Johnson, using a computer database
23               of booking photographs, created four photographic line-ups.
24           73. Photographic lineups generally contain six photographs of individuals: one
25               suspect and five fillers.
26           74. Officer Johnson testified in 2015 that officers would create line-ups by calling
27               up the latest booking photograph of the suspect on a computer. The officer
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 14
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 15 of 54




 1               would then enter in features of the suspect—skin tone, eye color, height—and
 2               the computer would bring up photographs of fillers, people with similar
 3               features. The officer would then review these suggested photographs and
 4               discard those photographs where a filler has a distinguishing feature on a face,
 5               such as a bandage or tattoo, or when the clothing between photographs is
 6               dissimilar.
 7           75. Using this standard procedure, officers created four photographic line-ups of
 8               Jamal Trulove, David Trulove, Israel Benson, and Joshua Bradley. According to
 9               Inspector Johnson, these names and names of other people had been provided
10               to the homicide inspectors from Inspector Robert McMillan.
11
12   Inspectors D’Amico and Johnson hide exculpatory evidence and/or use improper
13   identification procedures to obtain a misidentification of Mr. Trulove from Ms. Lualemaga
14           76. Within two hours of creating these line-ups, on July 25, 2007, Inspectors
15               D’Amico and Johnson went to Ms. Lualemaga’s work. These officers had Ms.
16               Lualemaga speak to them in their car after driving a few blocks away from her
17               work with her.
18           77. In their car, the inspectors showed Ms. Lualemaga a different photographic
19               line-up than the ones they created—they showed her a line-up of six
20               photographs. One of the six photographs was of Jamal Trulove. This
21               photograph was the exact same photograph that was on the bulletin board that
22               she did not recognize nor identify the previous day.
23           78. Another photograph was of Joshua Bradley, the person Ms. Lualemaga had
24               previously identified as the person being chased. Another photograph was of
25               David Trulove, a person she knew and whom she had not identified as being
26               involved in Seu Kuka’s homicide. Two other photographs were “filler”
27               photographs from the computer-generated lineups. Jamal Trulove was the
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 15
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 16 of 54




 1             only person in this photographic line-up wearing an orange sweatshirt—jail
 2             clothing. Others were in street clothing.
 3          79. The inspectors next audio recorded some portion of their conversation with
 4             Ms. Lualemaga. Upon information and belief, this conversation was not audio
 5             recorded in its entirety.
 6          80. In the portion of the conversation that was recorded, Inspector D’Amico read
 7             the standard admonitions regarding line-ups. One of these admonitions, and
 8             perhaps the most important one, tells the witness, “The person who you saw
 9             commit the crimes may or may not be in this group of photographs.”
10          81. However, Ms. Lualemaga testified that before the inspectors met with Ms.
11             Lualemaga on July 25, 2007, they informed her that they had identified the
12             shooter and would be showing her his photograph.
13          82. This was in addition to what Inspector D’Amico had stated at Ingleside Station
14             on July 24, 2007, “If, if we were able to identify the shooter and put his picture
15             in a line-up for you do you think you’d be able to pick him out?” These
16             separate statements to Ms. Lualemaga rendered the most important
17             admonition meaningless.
18          83. On July 25, 2007, Ms. Lualemaga did what San Francisco police officers had
19             earlier asked her to do. She picked out Jamal Trulove’s photograph—the same
20             photograph that she had been with for hours before on July 24, 2007 and had
21             failed to recognize or identify in any way—and said of Jamal’s photograph,
22             “Um, he looks like the person that could have shot Seu” and “the shooter, I
23             want to say it’s him.”
24          84. After this equivocal identification, Inspector D’Amico asked Ms. Lualemaga,
25             “Did you see a photograph of Number 6 (Jamal) up on the board that you
26             recognized?” Ms. Lualemaga replied, “No.”
27
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 16
            Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 17 of 54




 1           85. Upon information and belief, Inspectors D’Amico and Johnson were
 2               determined to get Ms. Lualemaga to identify Jamal Trulove. Either they showed
 3               Ms. Lualemaga the four photographic line-ups and, when Ms. Lualemaga failed
 4               to identify anyone in the line-ups as the individual who shot Seu Kuka, never
 5               disclosed the exculpatory results; or they deliberately chose not to use the four
 6               proper photographic line-ups, and instead showed Ms. Lualemaga an improper
 7               line-up including a photograph of Mr. Trulove that she had seen before.
 8           86. Either way, there was no attempt on the part of law enforcement to abide by
 9               any proper identification procedures, such as double-blind line-ups in which
10               the person administering the line-up does not know who the suspect is; line-
11               ups that actually match the description of the person given by the witness;
12               line-ups in which the suspects actually match one another; or a line-up in
13               which there is one suspect and multiple fillers.
14
15   Officers attempt to implicate Mr. Trulove for the murder of Seu Kuka, interrogating his
16   brothers and searching his home
17           87. Even with the officers’ improper assistance, Ms. Lualemaga’s identification of
18               Mr. Trulove as the shooter was, at best, equivocal and uncorroborated. Given
19               this unreliability, officers needed additional evidence to seek an arrest
20               warrant.
21           88. On August 9, 2007, an SFPD officer pulled over Joshua Bradley and David
22               Trulove, purportedly because there was a loud exhaust noise coming from
23               their vehicle. Joshua Bradley was driving without a driver’s license or permit.
24               In response to this situation of an unlicensed driver, three additional SFPD
25               officers arrived. Officer Phillips arrived on the scene and recognized the men
26               as Mr. Trulove’s brothers. He contacted officers from Gang Task Force,
27               including Officer Silver, who took control of the investigation. Officer Phillips
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                      Page 17
            Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 18 of 54




 1               advised the officers that Inspectors D’Amico and Johnson wanted to speak with
 2               the brothers in connection with Kuka’s homicide. Officer Phillips transported
 3               David Trulove to Ingleside Police Station, while another officer transported Mr.
 4               Bradley.
 5           89. In August of 2007, San Francisco police officers conducted a thorough search of
 6               Joshua Bradley and Jamal Trulove’s home in Oakland. They found nothing
 7               there—no gun, no ammunition, no gang indicia, no photographs of guns, and
 8               no contraband of any sort. They found nothing connecting Mr. Trulove in any
 9               way to Seu Kuka’s homicide.
10           90. With no evidence of any kind to corroborate Ms. Lualemaga’s identification of
11               Mr. Trulove as the shooter, officers did not seek an arrest warrant.
12           91. Upon information and belief, Inspectors Johnson and D’Amico had information
13               regarding another suspect within thirty-six hours of Mr. Kuka’s homicide.
14
15   With an unreliable identification and no evidence tying Mr. Trulove to the crime, officers
16   directly suggest another misidentification of Mr. Trulove
17           92. Nothing of note would happen in the case for approximately 10 months.
18           93. On June 18, 2008, at approximately 5:30 p.m., San Francisco Police Officer
19               Hagen and Inspector McMillan of the Gang Task Force were in the Hunter’s
20               Point area of San Francisco and conducted a search of a car located near the
21               center of narcotics trafficking. Latisha Meadows-Dickerson was in the
22               passenger seat of the car.
23           94. Officers found cocaine and heroin in the car. Latisha Meadows-Dickerson
24               stuffed a loaded 9mm semi-automatic firearm into her pants when police
25               arrived.
26
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 18
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 19 of 54




 1          95. The gun had been reported stolen out of Fairfield, CA. Ms. Meadows-Dickerson
 2             had two prior serious felonies, or “strikes”—a prior adult robbery conviction
 3             and a juvenile robbery disposition.
 4          96. Instead of charging Ms. Meadows-Dickerson with a crime, which would have
 5             been her third “strike,” officers asked her if she had any information for them.
 6             Ms. Meadows-Dickerson told them that she had seen Seu Kuka’s murder. After
 7             speaking with officers, a portion of which was recorded, Ms. Meadows-
 8             Dickerson was driven home by officers, uncharged.
 9          97. In addition to Ms. Meadows-Dickerson’s obvious incentive to lie, her statement
10             was incredible on its face. In her recorded statement with Inspectors Johnson
11             and McMillan and Officer Hagen, Ms. Meadows-Dickerson says “Kamal” then
12             “Jamal,” shot and killed Mr. Kuka at around 5:00 or 6:00 p.m. one evening. Mr.
13             Kuka was actually shot at almost 11:00 pm on July 23, 2007.
14          98. Ms. Meadows-Dickerson told officers that when Mr. Kuka was killed “it was
15             still light outside.” Inspector McMillan attempted to correct her, saying, “It was
16             dark. Was it not? Was it dark?” Ms. Meadows-Dickerson then said that it was
17             “twilight.”
18          99. According to Ms. Meadows-Dickerson, Mr. Kuka and Jamal Trulove got in a
19             fight in front of her building. This building was up the hill and across the street
20             from 140 Blythedale. Ms. Meadows-Dickerson’s unit was a substantial distance
21             in from Blythedale Street.
22          100. Ms. Meadows-Dickerson said that Mr. Kuka, a man named Tuma Vaovasa,
23             and Mr. Trulove then walked across Blythedale Avenue and Mr. Trulove then
24             shot Mr. Kuka.
25          101. However, unknown to Ms. Meadows-Dickerson, Inspectors Johnson and
26             D’Amico had spoken to Mr. Vaovasa months before, on September 5, 2007 at
27             Ingleside Station. A recording of this conversation was never disclosed. In a
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 19
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 20 of 54




 1               brief note in the Chronological of Investigation, Mr. Vaovasa says he was
 2               coming out of a building across the street and up the block from where Mr.
 3               Kuka was killed. Mr. Vaovasa told officers that from where he was—where Ms.
 4               Meadows Dickerson claimed that she was also—he could not see the shooting.
 5               Mr. Vaovasa told officers that he was a friend of Mr. Kuka and wanted to assist
 6               the investigation.
 7           102. Ms. Meadows Dickerson said that Mr. Kuka punched Jamal in the face and
 8               then Mr. Kuka, Jamal, and Mr. Vaovasa walked across the street. She stated
 9               that she heard one shot and she saw Mr. Kuka get shot in the back of the head
10               by Jamal Trulove. Mr. Kuka was actually shot nine times.
11           103. It was also impossible to see where Mr. Kuka was killed from where Ms.
12               Meadows-Dickerson claimed she was. Any officer who had been to the scene or
13               had spoken to Mr. Vamoose—including Inspectors Johnson and D’Amico—
14               would have known that Ms. Meadows-Dickerson’s account of viewing the
15               homicide from that location was impossible.
16           104. Upon information and belief, officers engaged in suggestion to encourage Ms.
17               Meadows-Dickerson’s identification of Mr. Trulove and attempted to alter her
18               statement to better fit the known facts of the murder.
19
20   Officers use Ms. Lualemaga and Ms. Meadows-Dickerson’s obviously unreliable statements
21   to obtain an arrest warrant
22           105. Officers used Ms. Meadows-Dickerson’s statements, as well as Ms.
23               Lualemaga’s statements, to finally apply for an arrest warrant for Jamal
24               Trulove.
25           106. Approximately six weeks after Ms. Meadows-Dickerson’s statement was
26               obtained, on August 28, 2008, an arrest warrant was issued for Jamal Trulove
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                     Page 20
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 21 of 54




 1             for Seu Kuka’s murder, based on the identifications made by Ms. Meadows-
 2             Dickerson and Ms. Lualemaga.
 3          107. In the application for this arrest warrant, Inspector Johnson described
 4             portions of Ms. Lualemaga’s statements to police officers and her identification
 5             of Mr. Trulove on July 25, 2007.
 6          108. Inspector Johnson described Priscilla Lualemaga identifying Joshua Bradley
 7             from the bulletin board that she had been asked to view for two hours and
 8             brought the inspectors to see his photograph.
 9          109. However, Inspector Johnson completely failed to mention that this bulletin
10             board had a picture of Mr. Trulove on it, immediately above that of Mr. Bradley.
11          110. Inspector Johnson failed to note that inspectors showed her the same
12             photograph of Jamal Trulove on July 25, 2007—the same photograph that was
13             on the bulletin board and that she had failed to identify, or indicated in any
14             way she had recognized on July 24, 2007.
15          111. Inspector Johnson failed to note that from where Ms. Meadows-Dickerson
16             said she was, up the street, and halfway into a parking lot from Blythedale
17             Avenue, it was impossible to see Seu Kuka’s shooting.
18          112. Inspector Johnson wrote that Ms. Meadows-Dickerson stated that the
19             homicide happened at “night (she thought it was early evening.)” Inspector
20             Johnson did mention that the homicide occurred at 10:49 p.m., but failed to
21             note that Ms. Meadows-Dickerson stated multiple times in her statement that
22             it was still light out.
23          113. Inspector Johnson failed to write that Ms. Meadows-Dickerson’s story about
24             Tuma Vaovasa had been contradicted by Mr. Vaovasa himself, months earlier
25             when he was interviewed by Inspectors Johnson and D’Amico.
26          114. Ms. Meadows-Dickerson was never called to testify by the prosecution, at Mr.
27             Trulove’s preliminary hearing, first trial, or re-trial.
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 21
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 22 of 54




 1
 2   Payments to Priscilla Lualemaga
 3           115. Priscilla Lualemaga, on whose testimony the prosecution rested their entire
 4              case, was offered much by the state in exchange for her identification of Jamal
 5              Trulove. This identification grew increasingly certain as she, and her family,
 6              received tens of thousands of dollars in benefits.
 7           116. On July 23, 2007, it was unclear how long Ms. Lualemaga had been living in
 8              her grandmother’s small, two- bedroom apartment with six other people: her
 9              grandmother, her sister, her sister’s boyfriend, her sister’s two children, and
10              Priscilla’s then-boyfriend.
11           117. In the course of her recorded statement on July 24, 2007, Ms. Lualemaga gave
12              various stories about how long she was there and the circumstances of her
13              living arrangement. She told inspectors that she had been there one week
14              housesitting and also that she had been there one year.
15           118. Under oath, during Jamal Trulove’s first trial she gave yet another version of
16              her living situation: that she was just staying at her grandmother’s during the
17              work week so she did not have to commute from South San Francisco. (South
18              San Francisco is approximately five miles from the Sunnydale Housing
19              Projects, a ten-minute drive by car.)
20           119. At Mr. Trulove’s second trial, in 2015, she testified that she was living at her
21              grandmother’s home.
22           120. What was clear was that Ms. Lualemaga was not on the Housing Authority
23              lease and thus, could not legally reside there. Ms. Lualemaga was effectively
24              homeless.
25           121. What was also clear was that Ms. Lualemaga wanted to move from her
26              present situation. One of the first things she said to inspectors was that she
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                    Page 22
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 23 of 54




 1             and her boyfriend wanted to move out of the Sunnydale housing projects to the
 2             East Bay.
 3          122. In her recorded conversation on July 24, 2007, Inspector Johnson informed
 4             Ms. Lualemaga that she could be moved if she were a witness.
 5          123. Then, in May 2009, prior to her testimony at the preliminary hearing, she
 6             asked for, and began to receive, all living expenses paid for her and her family.
 7          124. This assistance continued for almost two years, until April 30, 2011.
 8          125. From June 1, 2009 until April 30, 2011, Ms. Lualemaga and her immediate
 9             family received $62,999.00 as payment for all living expenses.
10          126. Then, just prior to her testimony at Mr. Trulove’s trial, Ms. Lualemaga also
11             asked for benefits for her sister, a non-witness, and the prosecution paid
12             almost $10,000 in living expenses for her sister.
13          127. At each stage of the proceedings, Ms. Lualemaga’s statements and testimony
14             became increasingly certain.
15          128. On July 24, 2007, Ms. Lualemaga told officers that the shooter was in a black
16             hooded sweater and she did not get a good look at him because it happened “so
17             fast.”
18          129. On July 25, 2007—after an unrecorded phone call with officers, a
19             conversation at her work, and possibly after a conversation the evening before
20             at her grandmother’s home—when presented with the same photograph of
21             Jamal Trulove that she had not identified on July 23-24, 2007, Ms. Lualemaga
22             stated that Jamal Trulove, “looked like the guy that could have shot Seu.”
23          130. On May 19, 2009, after starting to receive benefits, at Jamal Trulove’s
24             preliminary hearing, Ms. Lualemaga positively identified Jamal Trulove as the
25             shooter.
26          131. On May 19, 2009, at Jamal Trulove’s preliminary hearing, Ms. Lualemaga
27             identified Jamal Trulove as the man outside her window and said he shot Seu,
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                    Page 23
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 24 of 54




 1              but when asked twice, once by the prosecution and once by the defense, said
 2              she could not remember if the shooter’s hood was up or down.
 3           132. At the preliminary hearing, she testified that she could not remember
 4              whether she had seen Jamal Trulove earlier on July 23, 2007.
 5           133. By January 2010, after she had been receiving benefits for six months and
 6              after her sister had also started to receive benefits, Ms. Lualemaga was “100%
 7              certain” that Trulove was the shooter. By this point, she had “remembered”
 8              that the shooter’s hood was down. She also remembered that she had seen
 9              Jamal with Seu earlier in the day on July 23, 2007.
10           134. Officers explained every inconsistency in Priscilla Lualemaga’s statements
11              and testimony as having been caused by her fear. Ms. Lualemaga testified that
12              she did not tell police that Jamal Trulove was the shooter because she was
13              afraid of having to testify.
14           135. In fact, the officers’ explanation of fear was only to hide their misconduct—
15              directly suggesting, coercing, and offering benefits to Ms. Lualemaga to obtain
16              a false identification of Mr. Trulove.
17
18   Forensic Evidence Shows Lualemaga’s Account Cannot Be True
19           136. The night of the homicide, SFPD crime scene personnel responded to the
20              scene and identified evidence related to the crime.
21           137. Defendant John Evans, an inspector assigned to the crime scene
22              investigations unit, marked evidence at the scene with numbered cones for
23              identification and directed another officer to photograph them.
24           138. Among the evidence Evans marked and which was photographed were eight
25              expended 9 mm shell casings, which were later determined to have been fired
26              from the same weapon.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 24
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 25 of 54




 1           139. Kuka had been shot nine times; his body lay on a concrete path connecting
 2              the sidewalk on Blythedale to the housing complex and a parking lot.
 3           140. Evans measured the position of the casings and recorded his findings in a
 4              report.
 5           141. Seven of the eight casings were located on sandy soil with some sparse
 6              vegetation, in an area originally designed to contain grass between the
 7              sidewalk and parking lot; one was located on concrete down the hill on the
 8              sidewalk.
 9           142. Photographs of the scene and measurements of the position of the casings
10              compared to the position of Kuka’s body show that the casings were all located
11              adjacent to Kuka’s body (on the north side) and trailing away from Kuka’s body
12              in a line down the hill, eastward from the body, ranging in distances from
13              about two feet to 19 feet from the body.
14           143. Defendants D’Amico and Johnson discussed the evidence including the shell
15              casings with officers, including John Evans, with crime scene investigations.
16           144. Defendants D’Amico, Johnson, Evans and Shouldice considered the
17              evidentiary value of the shell casings found at the Kuka homicide.
18           145. The location of shell casings identified at the crime scene, trailing away from
19              Kuka’s body in an eastward direction, is inconsistent with Lualemaga’s account
20              of the shooting taking place on the opposite side of Kuka’s body, to the west.
21
     Defendants Evans, Shouldice, D’Amico and Johnson Withhold Evidence that Lualemaga’s
22
     Account was Inconsistent with the Location of the Shell Casings and Misrepresent the
23   Significance of the Shell Casings to Support the Theory of Prosecution

24
             146. Semiautomatic firearms are designed to eject shell casings to the right and
25
                rear of a shooter. Shell casings rarely land in front of a shooter.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 25
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 26 of 54




 1          147. Generally, shell casings will strike the ground a few feet away from a gun.
 2             When landing on soil surfaces, shell casings do not move very far; they may
 3             move farther on concrete.
 4          148. In 2001, the SFPD conducted a study of the ejection patterns of shell casings
 5             fired from semi-automatic pistols at the police firing range Lake Merced. The
 6             study and its findings were written in a report by Defendant Ronan Shouldice,
 7             an Inspector with the SFPD crime scene investigations unit.
 8          149. Defendant John Evans, who joined the SFPD in 2004, was familiar with the
 9             2001 study.
10          150. The 2001 SFPD study documented the results of the test firing of two
11             different guns, a 40 caliber and a 9mm, on a concrete surface. The guns were
12             fired 50 times each. The position where shell casings landed was then marked
13             and measured, with the results documented in a diagram attached to the
14             report of the study.
15          151. The results of the study for the 9mm gun showed that the “dispersal pattern
16             of casings from the 9mm pistol was considerably tighter than that of the 40
17             caliber pistol. The range of final distance was five feet to eighteen feet six
18             inches. The predominant direction of ejection travel was right and to the rear
19             with no deviation. . . . As demonstrated on the diagram, a majority of the
20             casings came to rest within a defined area.”
21          152. The diagram corresponding to the 9mm test firing showed that the casings
22             all landed in a well-defined area to the right and rear of the shooting position,
23             ranging from five feet to 17 feet six inches; only one casing landed to the right
24             and forward of the shooting position, 18 feet six inches away.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                    Page 26
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 27 of 54




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12
                                      (Image from 2001 SFPD Study)
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14
            153. The 2001 SFPD study was never disclosed to Mr. Trulove during his criminal
15
               proceedings.
16
            154. Defendant John Evans was aware that Plaintiff’s prosecution was based on
17
               Lualemaga’s account of the shooting, which placed the shooter to the west of
18
               Kuka. Evans photographed the view from Lualemaga’s window and measured
19
               the distances from Lualemaga’s window to the locations where she said she
20
               witnessed Kuka hit Plaintiff, causing him to fall to the ground, and then claimed
21
               to have witnessed Plaintiff get up and shoot Kuka, all of which was to the west
22
               (up the hill) from Kuka’s body.
23
            155. Defendant Evans knew that Lualemaga was not able to see down the hill
24
               beyond the position where Kuka’s body was found.
25
            156. Defendant Evans knew that the location of the shell casings he identified at
26
               the scene, trailing away from the body toward the east, was inconsistent with
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                 Page 27
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 28 of 54




 1             Lualemaga’s account that the shooter approached and shot Kuka from the
 2             west.
 3          157. Defendant Evans knew that there was no evidence that the shell casings had
 4             been moved or kicked into place to explain their position in a line to the east of
 5             Kuka’s body, as there were no scratches on the shell casings.
 6          158. Upon information and belief, John Evans discussed his investigation of the
 7             Kuka homicide with SFPD Inspector Ronan Shouldice and Shouldice was also
 8             aware that Lualemaga’s account placed the shooter to the west of and up the
 9             hill from Kuka, that this was inconsistent with the position of the shell casings
10             found at the scene given the ejection patterns of firearms, and that the
11             possibility of shell casings being moved or kicked could not explain how they
12             landed up behind Kuka’s body toward the east.
13          159. Evans and Shouldice were aware that the only reasonable explanation for the
14             shell casings lining up to the east from Kuka’s body was that he was shot by
15             someone standing to the east from his body (down the hill), not someone shot
16             standing on the opposite side of his body, to the west (up the hill).
17          160. The 2001 study is evidence that the shell casing distribution at the Kuka
18             homicide scene is inconsistent with Lualemaga’s testimony implicating
19             Plaintiff. If the shooter had actually shot Kuka from the position Lualemaga
20             said, to the west of the body, the 2001 study supports a finding that the casings
21             would most likely be located to the right and rear of that position (south-west
22             of the body), not trailing away a few feet to nineteen feet to the east of the
23             body. The casings would at least have been on that side of the body, not in front of
24             the shooter on the opposite side of the body, many feet away down the hill.
25          161. The 2001 study also shows that 9mm shell casing locations provide
26             meaningful evidence that can be used to help determine the likely position of a
27             shooter, because even on concrete surfaces (where shell casings are more
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                      Page 28
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 29 of 54




 1              likely to roll than soil or vegetation), shell casings land in a defined area to the
 2              right and rear of a shooting position.
 3           162. Upon information and belief, Defendants Evans and Shouldice withheld the
 4              2001 study from the prosecution and/or misrepresented that the 2001 study
 5              supported the prosecution despite knowing that it did not, including by
 6              misrepresenting that the 2001 study found shell casing dispersal to be random
 7              and unable to provide any information about a shooter’s location.
 8           163. Upon information and belief, in conversations during their investigation of
 9              the case and before trial, Defendants Evans and Shouldice misrepresented to
10              the prosecution that the shell casing distribution found at the scene of the
11              Kuka homicide was consistent with Lualemaga’s account that the shooter was
12              standing to the west of Kuka.
13           164. Upon information and belief, Defendant Evans and/or Shouldice
14              communicated to Inspectors D’Amico and Johnson that the shell casing
15              distribution at the scene of the Kuka homicide was inconsistent with a person
16              shooting Kuka from the west (as Lualemaga claimed).
17           165. Upon information and belief, Defendants D’Amico and Johnson also were
18              aware of the 2001 study and withheld it from the prosecution and/or were
19              aware that the shell casing locations were inconsistent with Lualemaga’s
20              account and withheld that from the prosecution, and/or misrepresented to the
21              prosecution in conversations during the investigation and before trial that the
22              shell casing locations were consistent with the theory of the prosecution which
23              at trial was based solely on Lualemaga’s account.
24
25   Conviction and Sentence
26           166. On February 9, 2010, based on the identification by Ms. Lualemaga, and
27              without knowledge of the direct suggestion used to procure it, Jamal Trulove
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                     Page 29
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 30 of 54




 1               was convicted of the first-degree murder of Seu Kuka; the use of a firearm
 2               enhancement was found true.
 3           167. Mr. Trulove’s conviction was also caused by Defendant Evans, Shouldice,
 4               D’Amico and Johnson’s failure to disclose the 2001 SFPD study of shell casings,
 5               and misrepresentations that the shell casing locations were consistent with
 6               Lualemaga’s account. Although Mr. Trulove’s attorney attempted to argue in
 7               closing at trial that the location of the shell casings was inconsistent with
 8               Lualemaga’s testimony, the prosecution argued in rebuttal that they were not.
 9               Mr. Trulove’s attorney was not aware of the 2001 SFPD study or that
10               Defendants Evans, Shouldice, D’Amico and/or Johnson knew that the shell
11               casing locations were inconsistent with Lualemaga’s account.
12           168. On October 15, 2010, at his sentencing, Jamal Trulove addressed Seu Kuka’s
13               family.
14           169. Mr. Trulove said, “I know y’alls whole family. I was raised with Seu. Seu was
15               one of my best friends. I fought this case. I fought this case in a matter of
16               innocence, because I know I didn’t do it. . . everybody that was out there from –
17               you know, Rosa, and all of them, they all know I didn’t do it.. . .Because me, Seu
18               not resting peacefully, if that’s what you guys wanted, for him to rest
19               peacefully, with somebody – with just anybody with a conviction, the wrong
20               person was convicted. And, you know, I’m going to sleep with this on my heart
21               all the time. I would not have took a year in this jail and admitted to something
22               that I did not do. Period. I just want to say, I didn’t do it. I didn’t do it.”
23           170. Judge Carol Yaggy sentenced Mr. Trulove, saying, “Mr. Trulove, your actions
24               in this case were unspeakably vicious and brutal . . . By these callous acts, you
25               have forfeited your right to live here in this community for many years.”
26
27   Mr. Trulove learns of SFPD misconduct in his case from Oliver Barcenas
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                            Page 30
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 31 of 54




 1          171. After Jamal Trulove was convicted in January 2010 and awaiting sentencing
 2             in San Francisco County Jail, he was placed in a 12-person cell. A young man
 3             named Oliver Barcenas was also housed in this cell.
 4          172. Mr. Trulove and Mr. Barcenas are from different parts of the city, of different
 5             ethnicities, and had no connection prior to being housed together.
 6          173. While in this cell together, Mr. Barcenas saw Jamal Trulove’s large neck
 7             tattoo that reads “Cheryl Trulove.” Mr. Barcenas remembered the name
 8             “Trulove” as he had heard it years before, while he was sitting at Ingleside
 9             Station on the night of July 23-24, 2007.
10          174. On that night, July 23-24, 2007, Mr. Barcenas was brought to Ingleside
11             Station and handcuffed to a bench in an open room. While he was sitting there,
12             he saw John Doe #1, an older, white, male officer dressed in plain-clothes, with
13             a uniformed female officer with short hair, Officer Carla Lee. With these two
14             officers was a “Samoan lady or girl” who was heavy built, with her hair in a
15             bun.
16          175. Mr. Barcenas recalled that he first heard the name “Trulove” from John Doe
17             #1.
18          176. Mr. Barcenas testified that John Doe #1 held a clipboard, and was pointing
19             out something on the clipboard to the Samoan woman. As he was pointing, the
20             officer asked this woman, “Are you sure it wasn’t Trulove?”
21          177. Mr. Barcenas testified that at the time he thought the first name was
22             something like “Jeremiah or Jermaine.” Mr. Barcenas definitely remembered
23             the name “Trulove” as “the last name was distinctive. I never heard a last
24             name like that, Trulove.”
25          178. Mr. Barcenas could not see what was on this clipboard that was being shown
26             to this Samoan woman. He recalled that she responded to this repeated
27             suggestion that it was “Trulove” with, “No I don’t know.”
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 31
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 32 of 54




 1           179. In response to this, John Doe #1 held his hand over his eyes and pulled his
 2              hand down his face. Mr. Barcenas testified that John Doe #1 looked
 3              “frustrated” by the woman’s response.
 4           180. Mr. Barcenas was able to draw a diagram of the room at the Ingleside Police
 5              Station where this occurred. He could hear this conversation because he was
 6              only 10-12 feet away from this unfolding scene.
 7           181. Mr. Barcenas did not think about this conversation for three years until he
 8              saw Jamal Trulove and read the tattoo of his mother’s name on his neck.
 9           182. Police reports reveal that Mr. Barcenas was, in fact, arrested on Mission
10              Street on July 23, 2007. Mr. Barcenas and his co-defendant were brought to
11              Ingleside Station on the night of July 23 to 24th, 2007, and he was there at the
12              same time as Ms. Lualemaga. Sgt. Daniele reviewed the Barcenas incident
13              report for completeness, consistency and accuracy and signed off on the
14              report.
15           183. Police reports also revealed that Ms. Lualemaga was brought to Ingleside
16              Station by Officer Lee and Officer Phillips and Lt. Slade was the Officer in
17              Charge where this questioning of Ms. Lualemaga occurred.
18
19   Appeal and Reversal
20           184. Mr. Trulove’s family, who always believed in his innocence, hired attorney
21              Marc Zilversmit to represent Mr. Trulove on appeal.
22           185. In September 2013, the California Court of Appeal upheld Trulove’s
23              convictions, but reduced the murder conviction from first-degree to second-
24              degree murder.
25           186. Mr. Zilversmit petitioned the court to rehear the case and the appellate court
26              agreed. On January 6, 2014, the First District Court of Appeal filed its opinion
27              reversing Jamal Trulove’s conviction and sentence. The appellate court held
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 32
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 33 of 54




 1                 that the prosecution had committed misconduct by arguing that Ms. Lualemaga
 2                 had faced threats which caused her to fear for her life.
 3              187. The appeals court, in a unanimous opinion written by Presiding Justice
 4                 Anthony Kline, said the prosecution “did not present a scintilla of evidence” of
 5                 any threats. “This yarn was made of whole cloth.” The court held that the
 6                 prosecution’s argument was improper and likely prejudiced the jury.
 7              188. The Attorney General petitioned the California Supreme Court for Review.
 8                 On April 16, 2014, the Supreme Court declined review and on April 21, 2014,
 9                 the remittitur issued. Mr. Trulove returned to San Francisco County Jail,
10                 awaiting his re-trial.
11
12   Re-Trial
13              189. Mr. Trulove’s re-trial began in January 2015.
14              190. Ms. Lualemaga again testified and identified Trulove as the gunman who shot
15                 Seu Kuka running downhill from east to west.
16              191. Regarding her fear in testifying, on cross-examination, Ms. Lualemaga
17                 testified that: 1) Jamal Trulove had never threatened her; 2) nobody
18                 associated with Jamal Trulove had ever threatened her; and 3) nobody ever
19                 threatened her in connection with being a witness in this case. She testified
20                 that her fears were based on other things she had seen on television, unrelated
21                 to this case.
22
23   Forensic evidence disproves the case against Mr. Trulove
24              192. At Mr. Trulove’s re-trial, a crime scene reconstruction and ballistics expert,
25                 James Norris, and forensic pathologist, Dr. Judy Melinek, each testified that
26                 based on their analysis of the casings and the bullet entry wounds and wound
27                 trajectories, the only reasonable interpretation of the evidence was that Kuka
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                      Page 33
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 34 of 54




 1             was shot from someone who was below him, running up the street—not down
 2             the street as Ms. Lualemaga thought—and from west to east, not east to west.
 3          193. Mr. Norris, the former director of the San Francisco Crime Lab and an expert
 4             in crime scene reconstruction, testified regarding the ejection patterns of
 5             firearms, the pattern of the casings found at the scene, and the bullet
 6             trajectories through the body of Mr. Kuka. Mr. Norris testified that the pattern
 7             of the casings, found in sandy soil, in a line leading up to the body of Mr. Kuka,
 8             along with the autopsy findings, of the entrance and exit wounds of the bullets,
 9             revealed that the shooter moved uphill toward Mr. Kuka in an east to west
10             direction.
11          194. If Ms. Lualemaga actually saw what she thought she saw, the casings would
12             have been together in a group, uphill from the body. This group of casings
13             either would have been on the sidewalk or on the street, depending on how the
14             gun was held.
15          195. Dr. Judy Melinek worked at the San Francisco Medical Examiner’s office at
16             the time of Mr. Kuka’s homicide and was in the autopsy theater during the
17             autopsy. At the time of Mr. Trulove’s re-trial, Dr. Melinek was an Assistant
18             Professor of Clinical Pathology at the University of San Francisco Medical
19             Center and worked on a contract basis for the Alameda County Medical
20             Examiner’s Office. Dr. Melinek also lectured nationally and internationally on
21             anatomic and forensic pathology, training doctors and attorneys on
22             neuropathology and wound interpretation.
23          196. Dr. Melinek visited the scene of the homicide at night prior to testifying.
24             After reviewing all the forensic evidence, Dr. Melinek testified that the only
25             reasonable interpretation of the evidence was that Seu Kuka was shot and
26             killed by someone who was standing downhill at a distance from him. Dr.
27             Melinek testified that Priscilla Lualemaga’s version of events—that the shooter
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 34
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 35 of 54




 1             was uphill from Seu Kuka and shot him from behind at close range—was
 2             contradicted by the physical evidence.
 3          197. Defendant Evans testified at Plaintiff’s retrial for the prosecution that even
 4             though firearms are designed to eject shell casings to the right and rear, it is a
 5             “fallacy” to attempt to use shell casings to identify the position of a shooter
 6             because shell casing distribution is “random” and a “large percentage” of shell
 7             casings can end up in front of a gun rather than to the rear of a gun.
 8          198. Defendant Shouldice also testified for the prosecution that the ejection of
 9             shell casings is “totally random and totally unpredictable,” and so cannot be
10             used to identify the position of a shooter. He testified that the fact shell casings
11             are found in a line on one side of the victim does not mean the shooter is more
12             likely to have been on one side of the victim versus another; that is “not a
13             reliable conclusion.”
14          199. Defendant Evans and Shouldice’s testimony that shell casing distribution was
15             random and unpredictable misrepresented the significance of shell casing
16             ejection patterns. Evans and Shouldice knew, in part due to the SFPD’s own
17             study conducted in 2001, that 9mm shell casing distribution was not random
18             and unpredictable.
19          200. Upon information and belief, Defendant Evans made the same
20             misrepresentations to the prosecution in 2007 and before the 2010 trial, and
21             Evans and Shouldice made the same misrepresentations to the prosecution
22             after Plaintiff was granted a new trial in April 2014, causing the prosecution to
23             continue.
24          201. During the retrial, Ms. Lualemaga was shown photographs taken from her
25             window during daytime. These photographs revealed that Ms. Lualemaga
26             could not see far enough down the street to see where the shooter was.
27
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                    Page 35
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 36 of 54




 1           202. Dr. Kathy Pezdek, a professor and researcher since 1975 in the area of
 2              cognitive psychology, testified regarding human memory and perception.
 3           203. Dr. Pezdek opined that given the distance and lighting of the scene, the
 4              exposure time available to Ms. Lualemaga to perceive events, her position in a
 5              window with a limited view, her lack of focus on the person who got knocked
 6              down, and the distractions of the scene, Ms. Lualemaga had an inability to
 7              accurately perceive what actually happened—where the shots came from and
 8              who was the shooter.
 9           204. On March 11, 2015, Mr. Trulove was acquitted on all counts.
10
11   Mr. Trulove’s wrongful imprisonment
12           205. At the time of Mr. Trulove’s arrest in October 27, 2008, he was living in
13              Seaside, California with his two oldest sons, Milli and Jeremyah, and the boys’
14              mother, Martha. Milli was then 4 years old and Jeremyah was 18 months old.
15           206. Jamal also had infant twins, a girl, Mo’neke, and a boy, Lamari’a. The twins
16              had just had their first birthday at the time of Mr. Trulove’s arrest.
17           207. Mr. Trulove was imprisoned in San Francisco County Jail until November
18              2010. Just before his 26th birthday, Mr. Trulove was sent to San Quentin State
19              Prison (San Quentin). His four children were then 7, 3, and 2 years old.
20           208. Mr. Trulove was housed in the Reception Center at San Quentin for
21              approximately four months. Within a few days after he arrived at San Quentin,
22              guards announced to Mr. Trulove that he was going to be housed with a
23              notorious prisoner who had just left death row. Guards taunted Mr. Trulove
24              with this information.
25           209. Mr. Trulove, new to prison, was not then, nor ever was, a member of a prison
26              gang. He was a “civilian.”
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                    Page 36
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 37 of 54




 1          210. However, this man that Mr. Trulove was housed with was allegedly a leader
 2             in a black prison gang, known as “Kumi.”
 3          211. Mr. Trulove, who had been in the cell first, had the bottom bunk. This is the
 4             coveted bunk in a prison cell. Mr. Trulove’s new cellmate did not ask for the
 5             bottom bunk, nor did Mr. Trulove offer the bottom bunk to his new cellmate.
 6          212. Members of Kumi viewed Mr. Trulove’s not giving the bottom bunk to this
 7             man as a sign of extreme disrespect. While at San Quentin, a member of Kumi
 8             stabbed Mr. Trulove in the stomach for this sign of disrespect.
 9          213. Mr. Trulove still bears the scar where the prison shank sliced open his
10             abdomen.
11          214. While in San Quentin, Mr. Trulove’s oldest son turned 8 years old and his
12             second son had his third birthday. Mr. Trulove missed both of these birthdays.
13          215. On his first day in the yard at San Quentin, a man was stabbed repeatedly in
14             front of him. This man was cut up so badly that Mr. Trulove did not know
15             whether he survived. Mr. Trulove believed the perpetrators were members of
16             the Aryan Brotherhood. He was traumatized by seeing a man killed or almost
17             killed in front of him.
18          216. Because Mr. Trulove was sentenced to life, during his time in prison, he was
19             always housed in a Level 4 maximum-security prison.
20          217. Mr. Trulove left San Quentin State Prison in or around April of 2011. He was
21             moved to Calipatria State Prison, (Calipatria).
22          218. Calipatria is in far southern California. It takes over eight hours to drive from
23             the San Francisco Bay Area to Calipatria.
24          219. Mr. Trulove was at Calipatria State Prison for approximately one year.
25             During this time, Mr. Trulove’s family was never able to visit him. He did not
26             see his mother, father, girlfriend, friends, brothers, sister, nor any of his
27             children.
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                    Page 37
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 38 of 54




 1          220. Phone calls were extraordinarily difficult to get in Calipatria. Mr. Trulove
 2             rarely had the opportunity to speak with his family while he was there.
 3          221. While Mr. Trulove was in Calipatria, he saw repeated stabbings on the yard.
 4             There were at least four riots by Latino prison gangs while Mr. Trulove was
 5             there. When there was a riot, Mr. Trulove, like all non-involved prisoners,
 6             would dive to the ground and attempt to crawl out of the way while guards
 7             shot at prisoners. In the midst of some of these riots, he along with other
 8             prisoners, were pepper-sprayed.
 9          222. Mr. Trulove‘s time at Calipatria State Prison was similar to being in an active
10             war zone.
11          223. While he was in Calipatria, his oldest son turned 9, and his twins turned 4
12             years old. He missed both of these birthdays.
13          224. Mr. Trulove requested a transfer as soon as he was able in order to be closer
14             to his family.
15          225. In or around April of 2012, Mr. Trulove was moved to Salinas Valley State
16             Prison (Salinas Valley). He was housed in C yard. Mr. Trulove spent the
17             remainder of his time in state prison in Salinas Valley.
18          226. Salinas Valley was then regarded as one of the most violent prisons in
19             California. When Mr. Trulove arrived, C yard was in lockdown and it was in
20             lockdown for almost one year after Mr. Trulove arrived.
21          227. There were riots between black and Latino prison gangs and, although Mr.
22             Trulove was a civilian, because he was African American he was also part of
23             the lockdown.
24          228. Lockdown meant that prisoners had to stay in their cell, approximately 6 feet
25             by 9 feet, with their cellmate all day and night, every day and night. The tiny
26             cells had a bunk bed, shelves, and a toilet, so the walking area was the space
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 38
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 39 of 54




 1             between the bunk bed and the shelves. This space was approximately two feet
 2             wide, just enough for one person to walk down the bed and back again.
 3          229. Prisoners were fed in their cells. During lockdown, packages that could be
 4             sent from family members through designated vendors were not delivered.
 5             Canteen was not available either.
 6          230. Prisoners were taken out to shower every two to three days, but sometimes
 7             it would be every four days. In order to shower, prisoners would be
 8             handcuffed naked to the shower wall.
 9          231. Mr. Trulove had to take birdbath showers by using the toilet water to clean
10             himself. Toilet water would also be used to clean one’s underwear and
11             clothing. Because canteen was not available, soap and laundry detergent was
12             extremely limited and sometimes unavailable.
13          232. Mr. Trulove had to be in “high alert” the entire time he was in prison, but
14             especially at Salinas Valley. He would go to school, but there was little
15             opportunity for learning. Mr. Trulove would always try to stay alert for prison
16             gossip so that if he heard there was trouble between rival gangs, he could stay
17             in his cell and avoid the danger.
18          233. While in Salinas Valley, Mr. Trulove’s oldest son turned 9, then 10, then 11
19             years old. His second son turned 5, then 6, then 7 years old. His twins turned 5,
20             then 6 years old. Mr. Trulove missed all of these birthdays.
21          234. At the time Mr. Trulove was arrested, he was living with his two oldest sons
22             and remained in close contact with his infant twins. While in Seaside, he would
23             walk his oldest son to school.
24          235. While Mr. Trulove was incarcerated and could not help to support them
25             financially, the mother of his two oldest children could no longer manage to
26             maintain permanent housing in Monterey. They moved to Sacramento, then
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                    Page 39
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 40 of 54




 1             out of state. Mr. Trulove’s oldest son attended no less than 6 elementary
 2             schools while Mr. Trulove was in prison.
 3          236. Mr. Trulove’s two oldest sons eventually moved with their mother to Las
 4             Vegas, Nevada and later to Hawaii.
 5          237. Mr. Trulove was incarcerated when his oldest son was not yet five, his second
 6             son was 18 months, and his twins still infants. Mr. Trulove was a stranger to
 7             his children when he was released from custody. His oldest son barely
 8             remembered him and his younger children only knew him from rare prison
 9             visits.
10          238. Mr. Trulove bears the psychological scars of being in custody for over six
11             years and Mr. Trulove’s children lost their father for six years.
12          239. Mr. Trulove also bears the psychological scars of being tried twice for a crime
13             that he did not commit.
14                                             DAMAGES
15          240. Defendants’ actions deprived Jamal Rashid Trulove of his civil rights under
16             the First, Fourth, Fifth, and Fourteenth Amendments to the United States
17             Constitution, and the constitution and laws of the State of California.
18          241. This action seeks damages for the period from October 27, 2008 through
19             each and every year to the present. Mr. Trulove’s liberty was curtailed upon his
20             arrest on October 27, 2008. He remained incarcerated until March 11, 2015.
21             The damages suffered by Mr. Trulove began in 2008 and continue to the
22             present.
23          242. Defendants’ unlawful, intentional, willful, deliberately indifferent, reckless,
24             and/or bad-faith acts and omissions caused Mr. Trulove to be falsely arrested,
25             tried, wrongfully convicted, and incarcerated for over six years for a crime he
26             did not commit.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 40
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 41 of 54




 1          243. Defendants’ unlawful, intentional, willful, deliberately indifferent, reckless,
 2             and/or bad-faith acts and omissions caused Mr. Trulove the following injuries
 3             and damages, which continue to date and will continue into the future:
 4             personal injuries; pain and suffering; severe mental anguish; emotional
 5             distress; loss of family relationships; severe psychological damage; damage to
 6             business and property; legal expenses; loss of income; infliction of physical
 7             illness; inadequate medical care; humiliation, indignities and embarrassment;
 8             degradation; permanent loss of natural psychological development; and
 9             restrictions on all forms of personal freedom including but not limited to diet,
10             sleep, personal contact, educational opportunity, vocational opportunity,
11             athletic opportunity, personal fulfillment, sexual activity, family relations,
12             reading, television, movies, travel, enjoyment, and expression, for which he is
13             entitled monetary relief.
14          244. Mr. Trulove suffered a number of physical injuries while wrongfully
15             incarcerated, including but not limited to being stabbed in the stomach by
16             another inmate, and resulted in permanent scarring, and developing anxiety.
17          245. As a result of his wrongful incarceration, Mr. Trulove missed the opportunity
18             to parent his four children. As Mr. Trulove’s children were all under the age of
19             five when he was arrested, they barely remembered him when he was released
20             from custody. Mr. Trulove was a stranger to his children and continues to
21             struggle to develop a relationship with them as a result.
22          246. These injuries and damages to Mr. Trulove were foreseeable to Defendants at
23             the time of their acts and omissions.
24          247. Pursuant to California Government Code § 825(a), Defendants are entitled to
25             indemnification because their individual liability and acts of misconduct arose
26             from acts and omissions within the course and scope of their employment with
27             the City and County of San Francisco.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 41
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 42 of 54




 1          248. All of the acts and omissions committed by Defendants were done
 2             intentionally, unlawfully, maliciously, wantonly, recklessly, negligently and/or
 3             with bad faith, and said acts meet all of the standards for imposition of punitive
 4             damages.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                 Page 42
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 43 of 54




 1                                              COUNT I
 2        42 U.S.C. § 1983 claim for deprivation of liberty without due process of law and
 3                 violation of right to a fair trial, under the Fourteenth Amendment:
 4                  D’Amico, Johnson, Lee, Trail, Androvich, McMillan, Hagen, Evans,
 5                                                 Shouldice
 6          249. Plaintiff hereby incorporates each of the allegations of this Complaint as if
 7             fully set forth herein, and further alleges as follows:
 8          250. Defendants D’Amico, Johnson, Lee, Trail, Androvich, McMillan, Hagen, Evans,
 9             Shouldice fabricated false evidence of Mr. Trulove’s guilt and suppressed
10             exculpatory and material evidence of Mr. Trulove’s innocence, thereby
11             violating Mr. Trulove’s right to a fair trial and causing him to be deprived of his
12             liberty without due process of law.
13          251. Rather than conduct an adequate investigation, Defendants, individually and
14             in concert, acted in a manner that shocks the conscience and followed through
15             with the unlawful prosecution of Mr. Trulove, thereby depriving Mr. Trulove of
16             his right not to be deprived of liberty without due process of law.
17          252. Defendants fabricated evidence prior to trial, including Priscilla Lualemaga’s
18             and Latisha Meadows-Dickerson’s identifications, and they did so knowingly or
19             in reckless disregard for the truth. Both identifications were used to prosecute
20             Mr. Trulove. This evidence was actually false; Mr. Trulove did not kill Mr. Kuka.
21             Ms. Lualemaga’s statements were then used at trial and, as the only evidence
22             linking Mr. Trulove to the crime, most likely would have created a different
23             result at trial.
24            a. Defendants, individually and in concert, deliberately misrepresented witness
25               statements. In particular, Defendants misrepresented the strength and
26               circumstances of Priscilla Lualemaga’s identification of Mr. Trulove, and
27               suppressed evidence that Ms. Lualemaga had failed to identify Mr. Trulove on
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 43
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 44 of 54




 1               two prior occasions when shown his photo. Defendants also misrepresented
 2               the strength and circumstances of Latisha Meadows Dickerson’s
 3               identification of Mr. Trulove, and suppressed evidence that it was impossible
 4               for Ms. Meadows Dickerson to have seen Mr. Kuka’s shooting from where she
 5               said she was located and that she stated multiple times in her statement that
 6               the shooting happened while it was still light out.
 7           b. Defendants, individually and in concert, used identification procedures that
 8               were so suggestive that they knew or should have known that those
 9               techniques would yield false information. For example, Defendants
10               pressured Ms. Lualemaga to identify Mr. Trulove. Defendants also pressured
11               Mr. Meadows Dickerson to identify Mr. Trulove, and did so instead of
12               arresting her for carrying a weapon, her third “strike.”
13           c. Defendants, individually and in concert, misrepresented to prosecutors that
14               the position of the shell casings located at the scene of the Kuka homicide
15               were consistent with Lualemaga’s account that the shooter approached and
16               shot Kuka from the west. Defendants, individually and in concert, were aware
17               that in reality, the shell casing distribution was inconsistent with
18               Lualemaga’s account and instead consistent with a shooter approaching
19               Kuka from the east, beyond Lualemaga’s line of sight.
20           d. Defendants, individually and in concert, misrepresented to prosecutors that
21               the findings of a 2001 study by SFPD of shell casing distribution patterns
22               meant that shell casing distribution patterns were random and unpredictable
23               and could not be used to draw conclusions of the location of a shooter, when
24               in fact the 2001 study showed the opposite.
25          253. In addition to fabricating evidence, Defendants D’Amico, Johnson, Lee, Trail,
26             Androvich, McMillan, Evans, Shouldice, individually and in concert, in an effort
27             to secure Mr. Trulove’s conviction without regard to his actual innocence,
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                 Page 44
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 45 of 54




 1             suppressed material, exculpatory information from Mr. Trulove, Mr. Trulove’s
 2             defense counsel, and the prosecution in violation of the Constitution and Brady
 3             v. Maryland.
 4           a. Defendants, individually and in concert, failed to memorialize, intentionally
 5               suppressed, and/or recklessly failed to disclose Ms. Lualemaga’s
 6               conversation with two SFPD officers at Ingleside Station on July 24, 2007
 7               where she was directly pressured to identify Mr. Trulove by being asked by
 8               John Doe #1, “Are you sure it wasn’t Jamal Trulove?”
 9           b. Defendants, individually and in concert, failed to memorialize, intentionally
10               suppressed, and/or recklessly failed to disclose Ms. Lualemaga’s
11               conversation with SFPD officers at her home on the evening of July 24, 2007.
12           c. Defendants, individually and in concert, failed to memorialize, intentionally
13               suppressed, and/or recklessly failed to disclose Mr. Vaovasa’s statement to
14               police officers that contradicted Ms. Meadows-Dickerson’s statements.
15           d. Defendants, individually and in concert, intentionally suppressed and/or
16               recklessly failed to disclose the 2001 SFPD study of shell casing distribution
17               patterns, which was evidence that the shell casing pattern at the Kuka
18               homicide was inconsistent with Lualemaga’s account of the shooter’s
19               position and inconsistent with their misrepresentations to the prosecution
20               that shell casing positioning was random and/or consistent with Lualemaga’s
21               account; and otherwise intentionally suppressed and/or recklessly failed to
22               disclose the fact that the shell casing locations were inconsistent with
23               Lualemaga’s account.
24          254. Evidence of Defendants D’Amico, Johnson, Lee, Trail, Androvich, McMillan,
25             Hagen, Evans, Shouldice’s misconduct could have been used to undermine key
26             evidence relied on by Defendants in this investigation. Had it been disclosed, it
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                     Page 45
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 46 of 54




 1             could have been used at trial to impeach Defendants as well as the quality of
 2             the entire investigation.
 3          255. Defendants D’Amico, Johnson, Lee, Trail, Androvich, McMillan, Hagen, Evans,
 4             Shouldice’s actions, individually and cumulatively, played a direct and decisive
 5             role in the jury’s guilty verdict and were highly prejudicial to Mr. Trulove’s
 6             defense. Had Defendants’ misconduct been disclosed, the evidence would have
 7             tended to prove Mr. Trulove’s innocence, cast doubt on the entire police
 8             investigation and prosecution, and most likely would have created a different
 9             result at trial.
10          256. The foregoing acts and omissions were deliberate, reckless, wanton, cruel,
11             motivated by evil motive or intent, done in bad faith, and/or involved callous
12             indifference to Mr. Trulove’s federally protected rights. These acts were
13             perpetrated while Defendants were acting in their capacities as employees or
14             agents of the City and County of San Francisco and under color of state law.
15          257. As a direct and proximate result of Defendants’ actions, Mr. Trulove was
16             wrongly arrested, detained, charged with murder, prosecuted, convicted,
17             sentenced to 50 years to life in prison, incarcerated for over six years and
18             suffered the other grievous injuries and damages set forth above.
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20                                            COUNT II
21          42 U.S.C. § 1983 Claim for Malicious Prosecution and Violation of the
22      Fourth and Fourteenth Amendments: D’Amico, Johnson, Lee, Trail, Androvich,
23                                McMillan, Hagen, Evans, Shouldice
24          258. Plaintiff hereby incorporates each of the allegations of this Complaint as if
25             fully set forth herein, and further alleges as follows:
26          259. The criminal proceedings initiated against Mr. Trulove in October of 2008
27             have been pursued to a legal termination favorable to Mr. Trulove. In
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 46
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 47 of 54




 1             particular, in January 6, 2014, the First District Court of Appeal filed its opinion
 2             reversing Jamal Trulove’s conviction and sentence. The Attorney General
 3             petitioned the California Supreme Court for Review. On April 16, 2014, the
 4             Supreme Court declined review and on April 21, 2014 the remittitur issued. On
 5             March 11, 2015, Mr. Trulove was acquitted on all counts.
 6          260. The criminal proceedings initiated against Mr. Trulove in October of 2008
 7             were brought without probable cause and without any reasonable belief in
 8             guilt.
 9          261. The false and tainted witness identifications failed to provide probable cause
10             to arrest Mr. Trulove. Defendants were aware of this fact but nonetheless
11             caused the arrest of Mr. Trulove, and subsequently, Defendants intentionally
12             continued the prosecution against Mr. Trulove on the basis of fabricated
13             inculpatory evidence and suppressed material exculpatory evidence, thereby
14             effecting a continuing seizure of Mr. Trulove in violation of his Fourth and
15             Fourteenth Amendment rights.
16          262. The position of the shell casings found at the scene failed to provide probable
17             cause to arrest Mr. Trulove, as they were inconsistent with the only evidence
18             implicating Mr. Trulove: the false and tainted witness identifications which
19             identified Mr. Trulove as shooting the victim from the west which was
20             inconsistent with the physical evidence. Defendants were aware of this fact but
21             nonetheless caused the arrest of Mr. Trulove, and subsequently, Defendants
22             intentionally continued the prosecution against Mr. Trulove on the basis of
23             fabricated inculpatory evidence and suppressed material exculpatory
24             evidence, thereby effecting a continuing seizure of Mr. Trulove in violation of
25             his Fourth and Fourteenth Amendment rights.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 47
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 48 of 54




 1          263. The criminal proceedings against Mr. Trulove were initiated on the basis of
 2             Defendants intentional and knowingly false accusations, fabrication of
 3             evidence, suppression of exculpatory evidence, and other malicious conduct.
 4          264. In falsely arresting Mr. Trulove despite the absence of probable cause to
 5             believe he had committed a crime, Defendants deprived Mr. Trulove of his
 6             liberty prior to the preliminary hearing, and in maliciously prosecuting him
 7             despite the absence of probable cause or existence of other evidence linking
 8             Mr. Trulove to the crime, Defendants caused Mr. Trulove to suffer the indignity
 9             of a public trial twice, the most severe continuing deprivation of liberty, 6
10             years of emotional distress while serving prison time for a crime he did not
11             commit, and the other injuries and damages set forth above.
12          265. The criminal proceedings against Mr. Trulove were initiated with malice in
13             that Defendants caused the charges against Mr. Trulove to be filed by
14             knowingly providing the prosecution misinformation, concealing exculpatory
15             evidence, and otherwise engaging in wrongful and bad faith conduct that was
16             actively instrumental in causing the initiation of the legal proceedings against
17             Mr. Trulove.
18          266. Defendants’ wrongful prosecution of Mr. Trulove, which was initiated with
19             malice and without probable cause, and was brought for the purpose of
20             denying Mr. Trulove’s constitutional rights, including his right to be free from
21             unreasonable searches and seizures, and his right to not be deprived of liberty
22             without due process of law.
23          267. As a direct and proximate result of Defendants’ actions, Mr. Trulove was
24             wrongly prosecuted, detained, and incarcerated for over six years and suffered
25             the other grievous injuries and damages set forth above.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 48
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 49 of 54




 1                                           COUNT III
 2       42 U.S.C. § 1983 Civil Rights Conspiracy Claim: D’Amico, Johnson, Lee, Trail,
 3                      Androvich, McMillan, Hagen, Evans, Shouldice
 4          268. Plaintiff hereby incorporates each of the allegations of this Complaint as if
 5             fully set forth herein, and further alleges as follows:
 6          269. Defendants D’Amico, Johnson, Lee, Trail, Androvich, McMillan, Hagen, Evans,
 7             Shouldice and others yet unknown agreed among themselves and others to act
 8             in concert to deprive Mr. Trulove of his clearly established constitutional rights
 9             as protected by the Fourth, Fifth, and Fourteenth Amendments, including his
10             right not to be deprived of liberty without due process of law and be free from
11             illegal seizure.
12          270. As described in detail above, in furtherance of the conspiracy, Defendants
13             engaged in and facilitated numerous overt acts in furtherance of the
14             conspiracy, including but not limited to the following:
15           a. Acting in concert to suggest, coerce, and/or fabricate Ms. Lualemaga and Ms.
16               Meadows Dickerson’s identifications of Mr. Trulove;
17           b. Acting in concert to conceal that Ms. Lualemaga’s identification had been
18               tainted, and had been exchanged for the promise of payment of all of her and
19               her family’s living expenses. and
20           c. Acting in concert to fail to document Ms. Lualemaga’s conversations with
21               police on July 23-24, 2007 and July 24, 2007 where she was directly
22               pressured into identifying Mr. Trulove.
23           d. Acting in concert to misrepresent the significance of the shell casing
24               distribution found at the scene of the Kuka homicide, despite knowing it was
25               inconsistent with the position of a shooter described by Lualemaga, and
26               withhold evidence, including the 2001 SFPD study, that confirmed that shell
27               casing distribution is not random and unpredictable.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 49
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 50 of 54




 1          271. As a direct and proximate result of Defendants’ overt acts, Mr. Trulove was
 2             deprived of his constitutional rights; wrongly prosecuted, detained, and
 3             incarcerated for over six years; and subjected to other grievous injuries and
 4             damages as set forth above.
 5                                           COUNT IV
 6     42 U.S.C. § 1983 claim pursuant to Tatum v. Moody for Failure to Disclose Highly
 7     Significant Exculpatory Information Leading to Plaintiff’s Continued Detention:
 8           D’Amico, Johnson, Lee, Trail, Androvich, McMillan, Evans, Shouldice
 9          272. Plaintiff hereby incorporates each of the allegations of this Complaint as if
10             fully set forth herein, and further alleges as follows:
11          273. Pursuant to Tatum v. Moody, 768 F.3d 806 (9th Cir. 2014) cert. denied, 135 S.
12             Ct. 2312, 191 L. Ed. 2d 978 (2015), Defendants D’Amico, Johnson, Lee, Trail,
13             Androvich, McMillan, Evans, and Shouldice failed to disclose exculpatory
14             evidence to prosecutors leading to Mr. Trulove’s lengthy detention, in violation
15             of Mr. Trulove’s right to due process.
16          274. As mentioned above, Defendants failed to disclose conversations with Ms.
17             Lualemaga at Ingleside Station on July 23-24, 2007 and at Ms. Lualemaga’s
18             home on July 24, 2007 where, upon information and belief, officers directly
19             pressured Ms. Lualemaga to identify Jamal Trulove as the shooter in the
20             homicide of Seu Kuka.
21          275. Defendants knew the sole evidence used against Mr. Trulove was Ms.
22             Lualemaga’s identification of Mr. Trulove as the shooter. Had Defendants
23             disclosed that their conversations with Ms. Lualemaga in which they
24             manipulated Ms. Lualemaga into misidentifying Mr. Trulove as the shooter, this
25             evidence would have tended to prove Mr. Trulove’s innocence, cast doubt on
26             the entire police investigation and prosecution, and led to the end of Mr.
27             Trulove’s pre-trial detention.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 50
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 51 of 54




 1          276. Defendants, individually and in concert, also failed to disclose the 2001 SFPD
 2             study of shell casing distribution patterns, which was evidence that the shell
 3             casing pattern at the Kuka homicide was inconsistent with Lualemaga’s
 4             account of the shooter’s position and inconsistent with their
 5             misrepresentations to the prosecution that shell casing positioning was
 6             random and/or consistent with Lualemaga’s account; and otherwise failed to
 7             disclose the fact that the shell casing locations were inconsistent with
 8             Lualemaga’s account.
 9          277. Defendants performed the above-described acts under color of state law,
10             deliberately, intentionally, with malice or reckless disregard for the truth and
11             Mr. Trulove’s rights and with deliberate indifference to Mr. Trulove’s clearly
12             established constitutional rights. No reasonable officer in 2007 would have
13             believed this conduct was lawful.
14          278. As a direct and proximate result of Defendants’ conduct, Mr. Trulove was
15             wrongly and maliciously prosecuted, denied bail and suffered a prolonged pre-
16             trial detention during the more than 16 months that he was jailed, from
17             October 27, 2008 until March 9, 2010 as well as the other grievous and
18             continuing damages and injuries set forth above.
19                                           COUNT V
20                        42 U.S.C. § 1983 Supervisory Liability Claim
21       Against Defendants Maureen D’Amico, Michael Johnson, and John Does 2-10
22          279. Plaintiff hereby incorporates each of the allegations of this Complaint as if
23             fully set forth herein, and further alleges as follows:
24          280. Mr. Trulove’s wrongful arrest, confinement, prosecution, trial, conviction,
25             and incarceration was caused by the unconstitutional action and inaction of
26             Maureen D’Amico, Michael Johnson, and John Does 2-10, acting in their
27             individual capacities and under color of law.
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                   Page 51
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 52 of 54




 1          281. Upon information and belief, D’Amico, Johnson, and John Does 2-10 directly
 2             participated in the misconduct that resulted in Mr. Trulove’s wrongful
 3             conviction, including but not limited to coercing, fabricating, or suggesting
 4             false identifications and suppressing exculpatory evidence.
 5          282. D’Amico, Johnson, and John Does 2-10 knowingly refused to terminate the
 6             wrongful prosecution of Mr. Trulove, which, upon information and belief, they
 7             knew or should have known had been initiated based on the coerced,
 8             fabricated, or suggested identifications and in spite of suppressed exculpatory
 9             information. As a result D’Amico, Johnson, and John Does 2-10 knew or
10             reasonably should have known that Mr. Trulove’s constitutional rights to be
11             free from unreasonable seizure and not to be deprived of liberty without due
12             process of law would be violated.
13          283. D’Amico, Johnson, and John Does 2-10 culpably failed to adequately train,
14             supervise, an/or control their subordinates, who obtained coerced, fabricated,
15             or suggested identifications, and suppressed exculpatory information.
16          284. D’Amico, Johnson, and John Does 2-10 violated Mr. Trulove’s constitutional
17             rights by acquiescing in the deprivation of Mr. Trulove’s constitutional rights
18             by their subordinates, and by generally showing a reckless or callous
19             indifference to Mr. Trulove’s rights.
20          285. D’Amico, Johnson, and John Does 2-10’s failure to train, supervise, and/or
21             control their subordinates, their indifference to the actions of their
22             subordinates, and their indifference to Mr. Trulove’s rights, encouraged and
23             permitted their subordinates to fabricate evidence and to fail to document and
24             to disclose exculpatory evidence.
25          286. The actions and omissions of Defendants D’Amico, Johnson, and John Does 2-
26             10, in their individual capacities, caused Mr. Trulove to suffer the
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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                  Page 52
           Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 53 of 54




 1                 constitutional deprivations and grievous personal injuries and damages
 2                 described above.
 3                                             JURY DEMAND
 4              287. Pursuant to the Seventh Amendment of the United States Constitution, Mr.
 5                 Trulove requests a jury trial on all issues and claims set forth in this Complaint.
 6
 7                                         PRAYER FOR RELIEF
 8      WHEREFORE, Plaintiff Jamal Rashid Trulove respectfully requests:
 9         a.        A trial by jury on each of the Plaintiff’s claims;
10         b.        That the Court award compensatory damages to Plaintiff and against Officer
11         Defendants, jointly and severally, in an amount to be determined at trial;
12         c.        That the Court award punitive damages to Plaintiff, and against Defendants,
13         in an amount to be determined at trial, in order to deter such conduct by Officer
14         Defendants in the future;
15         d.        For pre-judgment and post-judgment interest and recovery of costs,
16         including reasonable attorneys’ fees pursuant to 42 U.S.C. § 1988 for all 42 U.S.C.
17         § 1983 claims; and
18         e.        For any and all other relief to which he may be entitled.
19
     DATED: February 13, 2017
20
21                                          By:    /s/ Alexandra Lampert
22
23                                          Nick J. Brustin, NY Bar No. 2844405 (pro hac vice)
24                                          Anna Benvenutti Hoffmann, NY Bar No. 4412011 (pro
25                                          hac vice)
26                                          Alexandra Lampert, NY Bar No. 5085915 (pro hac vice)
27                                          Vishal Agraharkar, NY Bar No. 4931457 (pro hac vice)
28

     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                                      Page 53
          Case 4:16-cv-00050-YGR Document 117 Filed 02/13/17 Page 54 of 54




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     SECOND AMENDED COMPLAINT, Case No. 16-cv-00050-YGR                  Page 54
